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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 SPIRE GLOBAL, INC.,                          )
                                              )
                      Plaintiff,                   C.A. No. 25-CV-168-GBW
                                              )
       v.                                     )
 KPLER HOLDING SA,                            )
                                              )
                      Defendant.              )

                                      NOTICE OF SERVICE

       PLEASE TAKE NOTICE that on April 1, 2025, true and correct copies of: (i) Plaintiff’s

Responses and Objections to Defendant’s Second Set of Requests for Production of Documents;

and (ii) Plaintiff’s Responses and Objections to Defendants’ Second Set of Interrogatories were

served on the following counsel via electronic mail:

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